  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 1 of 48 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 DISTRIBUTED MEDIA SOLUTIONS,
 LLC,

                Plaintiff,
                                                               CIVIL ACTION NO.
 v.

 CURIOSITYSTREAM INC.,                                     JURY TRIAL DEMANDED

                Defendant.


              PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT


       Plaintiff Distributed Media Solutions, LLC (“DMS” or “Plaintiff”) files this Complaint for

patent infringement against CuriosityStream Inc. (“CuriosityStream” or “Defendant”) and states as

follows:

                                 NATURE OF THE ACTION

       1.      This is a civil action for patent infringement under the patent laws of the United

States of America, 35 U.S.C. § 1 et seq.

       2.      DMS is the owner of all right, title, and interest in U.S. Patent Nos. 6,697,811 (“the

’811 Patent”), 7,133,922 (“the ’922 Patent”), 7,739,714 (“the ’714 Patent”), 8,046,672 (“the ’672

Patent”), 8,122,004 (“the ’004 Patent”), and 8,482,384 (“the ’ 384 Patent”) (collectively, “the

Asserted Patents”), which have been attached as Exhibits A-G and incorporated herein by reference.

       3.      Defendant CuriosityStream has infringed and continues to infringe one or more

claims of the Asserted Patents by making, using, offering to sell, and selling within the United

States, including in this District, certain products and services, including through its Curiosity

product and service. DMS seeks to recover monetary damages, attorneys’ fees, and costs.
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 2 of 48 PageID #: 2




                                           THE PARTIES

        4.      DMS is a Georgia limited liability company with a principal place of business at

4725 Peachtree Corners Circle, Suite 230, Peachtree Corners, GA 30092.

        5.      On information and belief, Defendant CuriosityStream Inc. is a company organized

under the laws of Delaware, with its principal place of business at 8484 Georgia Ave., Suite 700,

Silver Spring, Maryland. On information and belief, Defendant CuriosityStream offers its products

and/or services, including those accused herein of infringement, to customers and potential

customers located in Delaware and in this District.

                                  JURISDICTION AND VENUE

        6.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

1331 and 1338(a).

        7.      This Court has personal jurisdiction over CuriosityStream in accordance with due

process because, among other things, CuriosityStream does business in this State. For example,

CuriosityStream has engaged, and continues to engage, in continuous, systematic, and substantial

activities with this State, including the substantial marketing, use, and sale of products and services

with this State and this District. This Court has personal jurisdiction over CuriosityStream because

it has committed acts giving rise to DMS’s claims for patent infringement within and directed to

this District and has derived substantial revenue from its goods and services provided to

individuals in this State and this District.

        8.      Defendant has committed and continues to commit acts of infringement in violation

of 35 U.S.C. § 271 within the District of Delaware. Defendant has in the past made, used,

marketed, distributed, offered for sale, sold, and/or imported infringing products, and performed

infringing methods, in the State of Delaware and in this District. Defendant continues to make,



                                                  2
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 3 of 48 PageID #: 3




use, market, distribute, offer for sale, sell, and/or import infringing products, and perform

infringing methods, in the State of Delaware and in this District. Accordingly, Defendant has in

the past engaged, and continues to engage, in infringing conduct within and directed at or from

this District. Additionally, Defendant has purposefully and voluntarily placed its infringing

products into the stream of commerce with the expectation that its infringing products will be used

in this District. The infringing products have been and continue to be distributed to and used in

this District. Defendant’s acts have caused, and continue to cause, injury to Plaintiff, including

within this District.

        9.      Venue is proper in this District under the provisions of 28 U.S.C. §§ 1391(b), (c),

(d) and/or 1400(b) at least because CuriosityStream is a corporation organized under the laws of

Delaware.

                                   U.S. PATENT NO. 6,697,811

        10.     On September 18, 2018, the United States Patent and Trademark Office duly and

legally issued the ’811 Patent, entitled “Method and System for Information Management and

Distribution” after a full and fair examination.

        11.     Exhibit A is a true and correct copy of the ’811 Patent.

        12.     The ’811 Patent is valid and enforceable under United States patent laws.

        13.     Plaintiff is the owner of the ’811 Patent, having received all right, title and interest

in and to the ’811 Patent from the previous assignee of record.

        14.     Plaintiff possesses all rights of recovery under the ’811 Patent, including the

exclusive right to recover for past infringement.




                                                    3
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 4 of 48 PageID #: 4




                                  U.S. PATENT NO. 7,133,922

       15.     On November 7, 2006, the United States Patent and Trademark Office duly and

legally issued the ’922 Patent, entitled “Method and Apparatus for Streaming of Data” after a full

and fair examination.

       16.     Exhibit B is a true and correct copy of the ’922 Patent.

       17.     The ’922 Patent is valid and enforceable under United States patent laws.

       18.     Plaintiff is the owner of the ’922 Patent, having received all right, title and interest

in and to the ’922 Patent from the previous assignee of record.

       19.     Plaintiff possesses all rights of recovery under the ’922 Patent, including the

exclusive right to recover for past infringement.

                                  U.S. PATENT NO. 7,739,714

       20.     On June 15, 2010, the United States Patent and Trademark Office duly and legally

issued the ’714 Patent, entitled “System for Transmitting Digital Data Over a Limited Bandwidth

Link in Plural Blocks” after a full and fair examination.

       21.     Exhibit C is a true and correct copy of the ’714 Patent.

       22.     The ’714 Patent is valid and enforceable under United States patent laws.

       23.     Plaintiff is the owner of the ’714 Patent, having received all right, title and interest

in and to the ’714 Patent from the previous assignee of record.

       24.     Plaintiff possesses all rights of recovery under the ’714 Patent, including the

exclusive right to recover for past infringement.




                                                    4
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 5 of 48 PageID #: 5




                                  U.S. PATENT NO. 8,046,672

       25.     On October 25, 2011, the United States Patent and Trademark Office duly and

legally issued the ’672 Patent, entitled “Method and System for Delivering Technology Agnostic

Rich Media Content with an Email, Banner Ad, and Web Page” after a full and fair examination.

       26.     Exhibit D is a true and correct copy of the ’672 Patent.

       27.     The ’672 Patent is valid and enforceable under United States patent laws.

       28.     Plaintiff is the owner of the ’672 Patent, having received all right, title and interest

in and to the ’672 Patent from the previous assignee of record.

       29.     Plaintiff possesses all rights of recovery under the ’672 Patent, including the

exclusive right to recover for past infringement.

                                  U.S. PATENT NO. 8,122,004

       30.     On February 21, 2012, the United States Patent and Trademark Office duly and

legally issued the ’004 Patent, entitled “Generating and Providing Rich Media Presentations

Optimized for a Device Over a Network” after a full and fair examination.

       31.     Exhibit E is a true and correct copy of the ’004 Patent.

       32.     The ’004 Patent is valid and enforceable under United States patent laws.

       33.     Plaintiff is the owner of the ’004 Patent, having received all right, title and interest

in and to the ’004 Patent from the previous assignee of record.

       34.     Plaintiff possesses all rights of recovery under the ’004 Patent, including the

exclusive right to recover for past infringement.




                                                    5
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 6 of 48 PageID #: 6




                                  U.S. PATENT NO. 8,482,384

       35.     On July 9, 2013, the United States Patent and Trademark Office duly and legally

issued the ’384 Patent, entitled “Method and System for Playing Signals at Two Appliances” after

a full and fair examination.

       36.     Exhibit F is a true and correct copy of the ’384 Patent.

       37.     The ’384 Patent is valid and enforceable under United States patent laws.

       38.     Plaintiff is the owner of the ’384 Patent, having received all right, title and interest

in and to the ’384 Patent from the previous assignee of record.

       39.     Plaintiff possesses all rights of recovery under the ’384 Patent, including the

exclusive right to recover for past infringement.

                                  THE ASSERTED PATENTS

       40.     The claims of the Asserted Patents are directed to patent-eligible, non-abstract

subject matter under 35 U.S.C. § 101. They are not directed to abstract ideas, and the claimed

technology consists of ordered combinations of features and functions that, at the time of the

invention, were not, alone or in combination, well-understood, routine, or conventional. Instead,

one of skill in the art would recognize that the Asserted Patents are directed to technical and

unconventional solution s to shortcomings of the prior art.

       41.     One of skill in the art would recognize the specifications of the Asserted Patents

disclose shortcomings in the prior art and further explain, in detail, the technical and

unconventional way the claimed inventions resolve or overcome these shortcomings.

       42.     For example, the ‘811 Patent explains that “private or special purpose networks

may be located globally and may be developed and operated by different organizations.” ‘811

Patent at 1:16-18. As part of the solution to this problem, the ‘811 Patent discloses an invention



                                                    6
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 7 of 48 PageID #: 7




including a “multi-access manager (MAM)” that is coupled to remote source servers and endpoints

that provides a “centralized management but decentralized execution of information distribution.”

Id. at 3:11-21.

         43.      The ‘922 Patent explains that a disadvantage with conventional streaming

technology is that “current streaming techniques use a point-to-point approach that does not scale

well with increasing numbers of users.” ‘922 Patent at 1:46-48. The patent seeks to solve this

problem, in part, by providing “an intelligent gateway at the edge of a group of users (such as an

Intranet) through which requests for streaming data and the resulting data streams all pass.” Id. at

5:6-9.

         44.      The ‘714 Patent notes that “[i]n view of the multitude of bandwidths present in

complex client/server systems today and the large amounts of data necessary to produce

compelling audio, video and imaging presentations, there is a pressing demand for scalable data

representation of multimedia data, so that it can be delivered for on-line interactive playback in

such a form that the transmission rate can accommodate the client bandwidth.” ‘714 Patent at

2:30-37. The patent seeks to solve this problem, in party, by providing “a scalable representation,

so that the data can be asynchronously transmitted to clients having different bandwidth

connections, played on-line almost immediately after the transmission begins, interactively

controlled, and also progressively upgraded as it is replayed.” Id. at 18:57-62.

         45.      The ‘004 and ‘672 Patents explain that one problem with existing systems was that

the number of different systems and media files available resulted in users being “constantly

bombarded with different requirements” to receive and play those files. ‘004 Patent at 1:20-52.

This problem was solved, in part, through the use of an “attribute inquiry system” that determines

certain configuration information prior to providing the requested content. Id. at 13:28-63.



                                                  7
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 8 of 48 PageID #: 8




       46.     The ‘384 Patent explains that there is a need to provide timely information to users.

‘384 Patent at 1:32-35. This problem was solved, in part, by enabling communication at one device

to be resumed in a second device. Id. at 1:53-56.

           CURIOSITYSTREAM’S INFRINGING PRODUCTS AND ACTIVITIES

       47.     CuriosityStream provides Curiosity Stream, an on-demand video-streaming

platform (“the Accused Product”) that enables its users to stream video content from multiple

sources.




https://curiositystream.com/about (last visited 10/03/2022).

       48.     The Accused Product allows for the streaming of video content on a television,

computer, or mobile device.




https://curiositystream.com/about (last visited 10/03/2022).




                                                 8
  Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 9 of 48 PageID #: 9




       49.     In addition, the Accused Product is enabled to be implemented in a browser of a

computer. When run on a browser, the Accused Product ascertains certain browser and/or system

information to make determinations regarding the content provided to the browser.

       50.     The Accused Product implements MPEG-DASH to stream video content.

               COUNT I: INFRINGEMENT OF U.S. PATENT NO. 6,697,811

       51.     Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       52.     Defendant has directly infringed at least claim 1 of the ’811 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       53.     Defendant has directly infringed at least claim 1 of the ‘811 Patent by performing

all the limitations of that claim. For example, claim 1 of the ’811 Patent recites:

       A method for managing and distributing information with a system, comprising:

       receiving from a user at a multi-access manager a request for access to the system;

       determining whether the request for access to the system comprises an approved
       access at the multi-access manager;

       displaying in response to an approved access a catalogue of at least one source
       server, wherein each source server couples to a respective information source, and
       wherein each source server has authorized the user to access data stored at the
       coupled respective information source;

       receiving a source server selection from the user, wherein the source server
       selection comprises a source server selected from the catalogue of at least one
       source server;

       providing access for the user to the selected source server;

       receiving a request from the user for data at the selected source server, wherein
       the request for data requests data accumulated in a first format at the information
       source coupled to the selected source server; and

       transmitting the data from the selected source server to the user.

                                                 9
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 10 of 48 PageID #: 10




       54.     As in claim 1 of the ‘811 Patent, the Accused Product practices a method for

managing and distributing information (e.g., video content) with a system.




https://curiositystream.com/about (last visited 10/03/2022).

       55.     As in claim 1 of the ‘811 Patent, the Accused Product receives from a user at a

multi-access manager (e.g., the login screen of the Curiosity Stream website or application) a

request for access to the system.




https://curiositystream.com/login (last visited 10/04/2022).




                                                10
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 11 of 48 PageID #: 11




       56.     As in claim 1 of the ‘811 Patent, the Accused Product determines whether the

request for access to the system comprises an approved access at the multi-access manager. For

example, the Accused Product determines whether a user has access to the system.




https://curiositystream.com/login (last visited 10/04/2022).

       57.     As in claim 1 of the ‘811 Patent, the Accused Product displays in response to an

approved access a catalogue of at least one source server, wherein each source server couples to a

respective information source, and wherein each source server has authorized the user to access

data stored at the coupled respective information source. For example, the Accused Product

includes collections of video content.




                                               11
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 12 of 48 PageID #: 12




https://help.curiositystream.com/hc/en-us/articles/4411394107419-Smartest-Bundle-FAQ             (last

visited 10/06/2022).

       58.     As in claim 1 of the ‘811 Patent, the Accused Product receives a source server

selection from the user (e.g., selection of a specific video collection), wherein the source server

selection comprises a source server selected from the catalogue of at least one source server.




https://curiositystream.com/browse/producer/ZED (last visited 10/06/2022).




                                                12
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 13 of 48 PageID #: 13




https://curiositystream.com/browse/producer/NHK (last visited 10/06/2022).

        59.     As in claim 1 of the ‘811 Patent, the Accused Product provides access for the user

to the selected source server.




https://curiositystream.com/browse/producer/NHK (last visited 10/06/2022).

        60.     As in claim 1 of the ‘811 Patent, the Accused Product receives a request from the

user for data (e.g., video content) at the selected source server, wherein the request for data requests

data accumulated in a first format (e.g., MPEG-DASH) at the information source coupled to the

selected source server.




                                                  13
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 14 of 48 PageID #: 14




       61.     As in claim 1 of the ‘811 Patent, the Accused Product transmits the data from the

selected source server to the user.




                                              14
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 15 of 48 PageID #: 15




https://curiositystream.com/video/6391 (last visited 10/06/2022).

       62.      Defendant makes, uses, sells, and/or offers to sell the Accused Product which

practices at least claim 1 of the ’811 Patent.

       63.      In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘811

Patent, including through its own use, testing, and sale of the Accused Products.

       64.      Defendant has had knowledge of infringement of the ’811 Patent at least as of the

service of the present Complaint.

       65.      Defendant has directly infringed at least one claim of the ’811 Patent by making,

using, offering for sale, and selling the Accused Product without authority in the United States.

As a direct and proximate result of Defendant’s direct infringement of the ’811 Patent, DMS has

been damaged.

       66.     By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’811 Patent, pursuant to 35 U.S.C. § 271.


                                                 15
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 16 of 48 PageID #: 16




       67.       Defendant has committed these acts of infringement without license or

authorization.

       68.       As a result of Defendant’s infringement of the ’811 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       69.       Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

                 COUNT II: INFRINGEMENT OF U.S. PATENT NO. 7,133,922

       70.       Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       71.       Defendant has directly infringed at least claim 18 of the ’922 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       72.       Defendant has directly infringed at least claim 18 of the ‘922 Patent by performing

all the limitations of that claim. For example, claim 18 of the ’922 Patent recites:

        A method for providing streaming data from a server to multiple clients,
       comprising

       locating a plurality of gateways between said server and said clients, each said
       client being associated with one said gateway,

       sourcing a data stream from a server or another gateway in the event that a request
       for a stream is a first request to a said gateway for a said stream,

       supplying a data stream from the said gateway to a second or subsequent client
       requesting a data stream,

       deciding whether a neighbouring gateway exists from which a first requested data
       stream may be obtained,


                                                  16
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 17 of 48 PageID #: 17




       selecting between two or more gateways that are possible sources of a requested
       data stream by interrogating said possible sources about the loading of the possible
       source gateways, quality of the data stream and the communication latency between
       the gateway and the possible source gateways.

       73.     As in claim 18 of the ‘922 Patent, the Accused Product practices a method

for providing streaming data (e.g., video content) from a server to multiple clients.




https://curiositystream.com/about (last visited 10/03/2022).

       74.     As in claim 18 of the ‘922 Patent, the Accused Product locates a plurality of

gateways between said server and said clients, each said client being associated with one said

gateway. For example, the Accused Product uses an Akamai Content Delivery Network.




                                                17
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 18 of 48 PageID #: 18




Additionally, the Akamai CDN, for example, associates a client to an edge server.




                                              18
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 19 of 48 PageID #: 19




https://developer.akamai.com/legacy/learn/Overview/Client_Edge_Servers_Origin.html          (last

visited 9/20/2022).

       75.     As in claim 18 of the ‘922 Patent, the Accused Product sources a data stream from

a server or another gateway in the event that a request for a stream is a first request to a said

gateway for a said stream.




                                               19
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 20 of 48 PageID #: 20




https://developer.akamai.com/legacy/learn/Overview/Client_Edge_Servers_Origin.html          (last

visited 9/20/2022).

       76.     As in claim 18 of the ‘922 Patent, the Accused Product supplies a data stream from

the said gateway to a second or subsequent client requesting a data stream.




                                               20
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 21 of 48 PageID #: 21




https://developer.akamai.com/legacy/learn/Overview/Client_Edge_Servers_Origin.html             (last

visited 9/20/2022).

       77.     As in claim 18 of the ‘922 Patent, the Accused Product decides whether a

neighbouring gateway exists from which a first requested data stream may be obtained.




https://developer.akamai.com/legacy/learn/Overview/Client_Edge_Servers_Origin.html             (last

visited 9/20/2022).

       78.     As in claim 18 of the ‘922 Patent, the Accused Product selects between two or more

gateways that are possible sources of a requested data stream by interrogating said possible sources

about the loading of the possible source gateways, quality of the data stream and the

communication latency between the gateway and the possible source gateways.




                                                21
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 22 of 48 PageID #: 22




https://www.akamai.com/site/en/documents/product-brief/netstorage-product-brief.pdf            (last

visited 9/20/2022).

       79.     Defendant makes, uses, sells, and/or offers to sell the Accused Product which

practices at least claim 18 of the ’922 Patent.

       80.     In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘922

Patent, including through its own use, testing, and sale of the Accused Products.

                                                  22
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 23 of 48 PageID #: 23




       81.       Defendant has had knowledge of infringement of the ’922 Patent at least as of the

service of the present Complaint.

       82.       Defendant has directly infringed at least one claim of the ’922 Patent by making,

using, offering for sale, and selling the Accused Product without authority in the United States.

As a direct and proximate result of Defendant’s direct infringement of the ’922 Patent, DMS has

been damaged.

       83.       By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’922 Patent, pursuant to 35 U.S.C. § 271.

       84.       Defendant has committed these acts of infringement without license or

authorization.

       85.       As a result of Defendant’s infringement of the ’922 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       86.       Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

                 COUNT III: INFRINGEMENT OF U.S. PATENT NO. 7,739,714

       87.       Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       88.       Defendant has directly infringed at least claim 9 of the ’714 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.




                                                  23
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 24 of 48 PageID #: 24




           89.    Defendant has directly infringed at least claim 9 of the ‘714 Patent by implementing

a system that includes all the limitations of that claim. For example, claim 9 of the ’714 Patent

recites:

            An object movie processing system for encoding a digital object movie, storing it
           on a server computer and delivering it to client computers on-line upon request, the
           system comprising:

           a processor and memory;

           an encoder for compressing a digital object movie into a series of encoded data
           blocks stored in a database, each block comprising a sequence of encoded frames;

           a storage device that stores the database on a server computer;

           a processing unit for accepting a request by a client computer for on-line delivery
           of the object movie and for determining one or more data blocks to transmit based
           on a bandwidth associated with the client computer;

           a transmitter for delivering the determined data blocks to the client computer;

           a decoder for decompressing the data blocks back into object movie data at the
           client computer;

           an accumulator for ordering the data blocks at the client computer to reconstruct
           the original digital object movie; and

           a player on the client computer for playing the reconstructed digital object movie.

           90.    As in claim 9 of the ‘714 Patent, the Accused Product is a system for

encoding a digital object movie, storing it on a server computer and delivering it to client

computers on-line upon request.




https://curiositystream.com/about (last visited 10/03/2022).

                                                   24
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 25 of 48 PageID #: 25




       91.    As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes a processor and memory.

       92.    As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes an encoder for compressing a digital object movie into a series of encoded data blocks

stored in a database, each block comprising a sequence of encoded frames. For example, the

Accused Product implements MPEG-DASH.




                                              25
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 26 of 48 PageID #: 26




https://www.bogotobogo.com/VideoStreaming/images/mpeg_dash/DASH-IEEE-multimedia-

preprint.pdf (last visited 9/21/2022).

       93.     As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes a storage device that stores the database on a server computer.




                                                26
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 27 of 48 PageID #: 27




ISO/IEC 23009-1:2019.

       94.     As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes a processing unit for accepting a request by a client computer for on-line delivery of the

object movie and for determining one or more data blocks to transmit based on a bandwidth

associated with the client computer.




                                                27
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 28 of 48 PageID #: 28




ISO/IEC 23009-1:2019.

       95.     As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes a transmitter for delivering the determined data blocks to the client computer.




                                                28
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 29 of 48 PageID #: 29




ISO/IEC 23009-1:2019.

       96.    As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes a decoder for decompressing the data blocks back into object movie data at the client

computer.




                                             29
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 30 of 48 PageID #: 30




ISO/IEC 23009-1:2019.

       97.     As in claim 9 of the ‘714 Patent, the Accused Product, on information and belief,

includes an accumulator for ordering the data blocks at the client computer to reconstruct the

original digital object movie.




                                              30
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 31 of 48 PageID #: 31




https://www.bogotobogo.com/VideoStreaming/images/mpeg_dash/DASH-IEEE-multimedia-

preprint.pdf (last visited 9/21/2022).

       98.     As in claim 9 of the ‘714 Patent, the Accused Product includes a player on the client

computer for playing the reconstructed digital object movie.




                                                31
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 32 of 48 PageID #: 32




https://curiositystream.com/video/4227 (last visited 10/06/2022).

       99.     Defendant makes, uses, sells, and/or offers to sell the Accused Product which

practices at least claim 9 of the ’714 Patent.

       100.    In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘714

Patent, including through its own use, testing, and sale of the Accused Products.

       101.    Defendant has had knowledge of infringement of the ’714 Patent at least as of the

service of the present Complaint.

       102.    Defendant has directly infringed at least one claim of the ’714 Patent by making,

using, offering for sale, and selling the Accused Product without authority in the United States.

As a direct and proximate result of Defendant’s direct infringement of the ’714 Patent, DMS has

been damaged.

       103.    By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’714 Patent, pursuant to 35 U.S.C. § 271.




                                                 32
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 33 of 48 PageID #: 33




       104.      Defendant has committed these acts of infringement without license or

authorization.

       105.      As a result of Defendant’s infringement of the ’714 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       106.      Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

                 COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 8,122,004

       107.      Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       108.      Defendant has directly infringed at least claim 1 of the ’004 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       109.      The Accused Product meets all the limitations of at least claim 1 of the ’004 Patent.

For example, claim 1 of the ’004 Patent recites:

       A computer-implemented method implemented by at least one device of a content
       delivery system, the method comprising:

       processing requests for media content from network devices to determine whether
       the network devices are supported by the content delivery system; and for at least
       one network device that is supported:

       configuring a content package for media content that is requested by the network
       device to include code specific to a browser of the network device identified based
       upon one or more attributes of the network device;

       causing communication of the content package to the network device; and




                                                  33
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 34 of 48 PageID #: 34




       wherein the one or more attributes include one or more of basic operating
       characteristics of the at least one network device, a language attribute, a bandwidth
       attribute, a firewall attribute, or a permissions attribute.

       110.    As in claim 1 of the ‘004 Patent, the Accused Product provides a content (e.g., video

content) delivery system.




https://curiositystream.com/about (last visited 10/03/2022).

       111.    As in claim 1 of the ‘004 Patent, the Accused Product processes requests for media

content from network devices (e.g., computers) to determine whether the network devices are

supported by the content delivery system (e.g., Curiosity). For example, the Accused Product

provides functionality to allow the streaming of media content to the browser of certain computer

operating systems.




                                                34
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 35 of 48 PageID #: 35




https://help.curiositystream.com/hc/en-us/articles/209260738-What-platforms-and-devices-do-

you-currently-support- (last visited 10/06/2022).

       112.    As in claim 1 of the ‘004 Patent, the Accused Product configures a content package

for media content (e.g., video content) that is requested by the network device (e.g., a computer)

to include code specific to a browser of the network device identified based upon one or more

attributes of the network device. For example, the Accused Product provides the media content to

the browser based on certain specific attributes, such as language and browser type.




                                                35
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 36 of 48 PageID #: 36




       113.    As in claim 1 of the ‘004 Patent, the Accused Product causes communication of the

content package (e.g., video content) to the network device (e.g., a computer). For example,

Curiosity streams video content to the browser of a computer.




https://curiositystream.com/video/6218 (last visited 10/07/2022).

       114.    As in claim 1 of the ‘004 Patent, in the Accused Product, the one or more attributes

include one or more of basic operating characteristics of the at least one network device, a language

attribute, a bandwidth attribute, a firewall attribute, or a permissions attribute. For example, the

Accused Product has an “auto” setting for determining bandwidth.


                                                 36
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 37 of 48 PageID #: 37




https://curiositystream.com/video/6218 (last visited 10/07/2022).

       115.      Defendant makes, uses, sells, and/or offers to sell the Accused Products which

practices at least claim 1 of the ’004 Patent.

       116.      In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘004

Patent, including through its own use, testing, and sell of the Accused Products.

       117.      Defendant has had knowledge of infringement of the ’004 Patent at least as of the

service of the present Complaint.

       118.      Defendant has directly infringed at least one claim of the ’004 Patent by making,

using, offering for sale, and selling the Accused Product without authority in the United States.

As a direct and proximate result of Defendant’s direct infringement of the ’004 Patent, DMS has

been damaged.

       119.      By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’004 Patent, pursuant to 35 U.S.C. § 271.

       120.      Defendant has committed these acts of infringement without license or

authorization.


                                                 37
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 38 of 48 PageID #: 38




       121.    As a result of Defendant’s infringement of the ’004 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       122.    Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

               COUNT V: INFRINGEMENT OF U.S. PATENT NO. 8,046,672

       123.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       124.    Defendant has directly infringed at least claim 1 of the ’672 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       125.    Defendant has directly infringed at least claim 1 of the ‘672 Patent by performing

all the limitation of that claim. For example, claim 1 of the ’672 Patent recites:

       A method comprising:

       receiving an indication over a network, in response to a request for access to a rich media
       presentation by an internet browser on a network device, that the internet browser on the
       network device has requested access to the rich media presentation;

       in response to the receiving an indication, detecting one or more attributes of one or both
       of rich media capabilities associated with the internet browser or rich media capabilities
       associated with the network device; and

       selecting a rich media presentation to be sent to the internet browser from among a plurality
       of rich media presentations based on the one or more attributes that are detected, wherein
       a selected rich media presentation includes a media package selected based on the one or
       more attributes that are detected and a virtual player configured to play the media package
       on the network device.

       126.    As in claim 1 of the ‘672 Patent, the Accused Product receives an indication over a

network, in response to a request for access to a rich media presentation (e.g., a video) by an

                                                 38
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 39 of 48 PageID #: 39




internet browser on a network device (e.g., a computer), that the internet browser on the network

device has requested access to the rich media presentation.




https://curiositystream.com/video/6218 (last visited 10/11/2022).

       127.    As in claim 1 of the ‘672 Patent, in response to the receiving an indication, the

Accused Product, on information and belief, detects one or more attributes of one or both of rich

media capabilities associated with the internet browser or rich media capabilities associated with

the network device. For example, the Accused Product detects attributes of the computer, e.g.,

operating system platform and bandwidth.




                                               39
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 40 of 48 PageID #: 40




https://curiositystream.com/video/6218 (last visited 10/11/2022).

        128.   As in claim 1 of the ‘672 Patent, the Accused Product, on information and belief,

selects a rich media presentation to be sent to the internet browser from among a plurality of rich

media presentations based on the one or more attributes that are detected, wherein a selected rich

media presentation includes a media package selected based on the one or more attributes that are

detected and a virtual player configured to play the media package on the network device. For

example, the Accused Product sends video to the browser that is selected based on detected

attributes.




                                                40
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 41 of 48 PageID #: 41




https://curiositystream.com/video/6218 (last visited 10/11/2022).

       129.      Defendant makes, uses, sells, and/or offers to sell the Accused Products which

practices at least claim 1 of the ’672 Patent.

       130.      In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘672

Patent, including through its own use, testing, and sell of the Accused Products.

       131.      Defendant has had knowledge of infringement of the ’672 Patent at least as of the

service of the present Complaint.

       132.      Defendant has directly infringed and continues to infringe at least one claim of the

’672 Patent by making, using, offering for sale, and selling the Accused Product without authority

in the United States. As a direct and proximate result of Defendant’s direct infringement of the

’672 Patent, DMS has been damaged.

       133.      By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’672 Patent, pursuant to 35 U.S.C. § 271.

       134.      Defendant has committed these acts of infringement without license or

authorization.


                                                  41
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 42 of 48 PageID #: 42




       135.    As a result of Defendant’s infringement of the ’672 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       136.    Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

              COUNT VI: INFRINGEMENT OF U.S. PATENT NO. 8,482,384

       137.    Plaintiff incorporates by reference and re-alleges the foregoing paragraphs of this

Complaint as if fully set forth herein.

       138.    Defendant has directly infringed at least claim 1 of the ’384 Patent in violation of

35 U.S.C. § 271 et seq., by making, using, offering for sale, or selling in the United States, and/or

importing into the United States without authority or license the Accused Product.

       139.    Defendant has directly infringed at least claim 1 of the ‘384 Patent by performing

all the limitation of that claim. For example, claim 1 of the ’384 Patent recites:

       A method, comprising:

       playing a signal representative of data at a first appliance, the first appliance located in a
       first location of a household;

       pausing the playing of the signal at the first appliance;

       transmitting, to a second appliance, an indication of the point at which the playing was
       paused; and

       resuming the playing of the signal at the second appliance, the second appliance located in
       a second location of the household.

       140.    As in claim 1 of the ‘384 Patent, the Accused Product plays a signal representative

of data at a first appliance, the first appliance located in a first location of a household. For

example, the Accused Product can play video content on a user’s computer.


                                                 42
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 43 of 48 PageID #: 43




https://curiositystream.com/about (last visited 10/03/2022).

         141.   As in claim 1 of the ‘384 Patent the Accused Product pauses the playing of the

signal at the first appliance. For example, the Accused Product can pause the playing of video

content on a user’s computer.




         142.   As in claim 1 of the ‘384 Patent, the Accused Product transmits, to a second

appliance, an indication of the point at which the playing was paused. For example, the Accused

Product transmits an indication of where video content was paused to another device, such as a

phone.




                                                43
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 44 of 48 PageID #: 44




       143.    As in claim 1 of the ‘384 Patent, the Accused Product resumes the playing of the

signal at the second appliance, the second appliance located in a second location of the household.

For example, the Accused Product can resume playing the video content on a user’s mobile device.



                                                44
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 45 of 48 PageID #: 45




       144.    Defendant makes, uses, sells, and/or offers to sell the Accused Products which

practices at least claim 1 of the ’384 Patent.



                                                 45
 Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 46 of 48 PageID #: 46




       145.      In violation of 35 U.S.C. § 271, Defendant has been directly infringing the ‘384

Patent, including through its own use, testing, and sell of the Accused Products.

       146.      Defendant has had knowledge of infringement of the ’384 Patent at least as of the

service of the present Complaint.

       147.      Defendant has directly infringed and continues to infringe at least one claim of the

’384 Patent by making, using, offering for sale, and selling the Accused Product without authority

in the United States. As a direct and proximate result of Defendant’s direct infringement of the

’384 Patent, DMS has been damaged.

       148.      By engaging in the conduct described herein, Defendant has injured DMS and is

thus liable for infringement of the ’384 Patent, pursuant to 35 U.S.C. § 271.

       149.      Defendant has committed these acts of infringement without license or

authorization.

       150.      As a result of Defendant’s infringement of the ’384 Patent, Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

       151.      Plaintiff reserves the right to modify its infringement theories as discovery

progresses in this case; it shall not be estopped for infringement contention or claim construction

purposes by the claim chart that it provides with this Complaint.

                                  DEMAND FOR JURY TRIAL

       152.      DMS demands a trial by jury of any and all causes of action.

                                     PRAYER FOR RELIEF

WHEREFORE, DMS respectfully requests:




                                                  46
Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 47 of 48 PageID #: 47




    a. That Judgment be entered that Defendant has infringed one or more claims of the ’811

    Patent;

    b. That Judgment be entered that Defendant has infringed one or more claims of the ’922

    Patent;

    c. That Judgment be entered that Defendant has infringed one or more claims of the ’714

    Patent;

    d. That Judgment be entered that Defendant has infringed one or more claims of the ’672

    Patent;

    e. That Judgment be entered that Defendant has infringed one or more claims of the ’004

    Patent;

    f. That Judgment be entered that Defendant has infringed one or more claims of the ’384

    Patent;

    g. An award of damages pursuant to 35 U.S.C. §284, sufficient to compensate Plaintiff

    for the Defendant’s past infringement and any continuing or future infringement;

    h. An assessment of pre-judgment and post-judgment interest and costs against Defendant,

    together with an award of such interest and costs, in accordance with 35 U.S.C. §284;

    i. That Defendant be directed to pay enhanced damages, including Plaintiff’s attorneys’

    fees incurred in connection with this lawsuit pursuant to 35 U.S.C. §285; and

    j. That Plaintiff be granted such other and further relief as this Court may deem just and

    proper.




                                            47
Case 1:22-cv-01353-UNA Document 1 Filed 10/13/22 Page 48 of 48 PageID #: 48




Dated: October 13, 2022               Respectfully submitted,


                                      /s/ Stamatios Stamoulis
                                      Stamatios Stamoulis (#4606)
                                      Richard C. Weinblatt (#5080)
                                      800 N. Street, Third Floor
                                      Wilmington, DE 19801
                                      (302) 999-1540
                                      stamoulis@swdelaw.com
                                      weinblatt@swdelaw.com

                                      Mark S. Raskin
                                      Michael S. DeVincenzo
                                      Daniel C. Miller
                                      KING & WOOD MALLESONS LLP
                                      500 5th Avenue, 50th Floor
                                      New York, New York 10110
                                      (212) 319-4755
                                      mark.raskin@us.kwm.com
                                      michael.devincenzo@us.kwm.com

                                      Attorneys for Plaintiff
                                      Distributed Media Solutions, LLC




                                    48
